Case 1:23-cv-00108-LMB-JFA Document 814-9 Filed 06/14/24 Page 1 of 9 PageID# 19486




               Exhibit E
     (Previously Filed as Exhibit 116 to the Decl. of
        Bryon Becker, Dkt. Nos. 646-17 & 650-9)
Case 1:23-cv-00108-LMB-JFA Document 814-9 Filed 06/14/24 Page 2 of 9 PageID# 19487

                                HIGHLY CONFIDENTIAL

                                                                       Page 1

   1
   2             H I G H L Y      C O N F I D E N T I A L
   3
           IN THE UNITED STATES DISTRICT COURT
   4       FOR THE EASTERN DISTRICT OF VIRGINIA
           ALEXANDRIA DIVISION
   5       -----------------------------x
           UNITED STATES, et al.,
   6
                          Plaintiffs,
   7
                      vs.                              Case No.
   8                                                  1:23-cv-000108
           GOOGLE LLC,
   9
                        Defendant.
 10        -----------------------------x
 11
 12                      HIGHLY CONFIDENTIAL
 13           VIDEOTAPED DEPOSITION OF BENNEASER JOHN
 14                      New York, New York
 15                   Friday, September 8, 2023
 16                          9:17 a.m.
 17
 18
 19
 20
 21
 22
 23        Reported by:
           Jennifer Ocampo-Guzman, CRR, CLR
 24        JOB NO. 6082515
 25

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Case 1:23-cv-00108-LMB-JFA Document 814-9 Filed 06/14/24 Page 3 of 9 PageID# 19488

                                                   HIGHLY CONFIDENTIAL
                                                          Page 2                                            Page 4
       1                                                            1
       2                                                            2 APPEARANCES (Continued):
       3                                                            3
       4                                                            4  ORRICK HERRINGTON & SUTCLIFFE LLP
       5                                                            5  Attorneys for nonparty Microsoft and the
       6                                                            6  Deponent
       7                                                            7     1152 15th Street, N.W.
       8                                                            8     Washington, D.C. 20005-1706
       9                   September 8, 2023                        9  BY: EILEEN COLE, ESQ.
      10                   9:17 a.m.                               10     ALLEN DAVIS, ESQ., (via Zoom)
      11                                                           11
      12                                                           12 ALSO PRESENT:
      13           HIGHLY CONFIDENTIAL                             13  CARLOS RIVERA, Videographer
      14         Videotaped Deposition of                          14
      15     BENNEASER JOHN, held at the offices of                15
      16     Paul, Weiss, Rifkind, Wharton &                       16
      17     Garrison LLP, 1285 Avenue of the                      17
      18     Americas, New York, New York, pursuant                18
      19     to subpoena, before Jennifer                          19
      20     Ocampo-Guzman, a Certified Realtime                   20
      21     Shorthand Reporter and Notary Public of               21
      22     the State of New York.                                22
      23                                                           23
      24                                                           24
      25                                                           25
                                                          Page 3                                            Page 5
       1                                                            1       HIGHLY CONFIDENTIAL
       2 A P P E A R A N C E S:                                     2       THE VIDEOGRAPHER: Good morning.
       3                                                            3    We are going on the record at 9:17 a.m.
       4   UNITED STATES DEPARTMENT OF JUSTICE                      4    on September 8, 2023. Please note that
       5   Attorneys for Plaintiff United States                    5    the microphones are sensitive and may
       6       325 7th Street, Suite 300                            6    pick up whispering and minor
       7       Washington, DC 20004                                 7    conversations; and please mute your
       8   BY: JEFFREY VERNON, ESQ.                                 8    phones at this time. Audio and video
       9       KAITLYN BARRY, ESQ.                                  9    recording will continue to take place
      10       JEFF QUI, ESQ., (via Zoom)                          10    unless all parties agree to go off the
      11                                                           11    record.
      12   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP            12       This is media unit number 1 of the
      13   Attorneys for Defendant Google LLC                      13    video-recorded deposition of Benneaser
      14       1285 Avenue of the Americas                         14    John taken by counsel for defendant, in
      15       New York, New York 10019                            15    the matter of the United States of
      16   BY: KAREN DUNN, ESQ.                                    16    America versus Google LLC, filed in the
      17       ERICA SPEVACK, ESQ.                                 17    United States District Court, for the
      18       WILLIAM ISAACSON, ESQ. (p.m. session)               18    Eastern District of Virginia, case
      19       JULIA WOOD, ESQ., (via Zoom)                        19    number 1:23-cv-000108-LMB-JFA. The
      20                                                           20    location of this deposition is 1285
      21   AXINN, VELTROP & HARKRIDER LLP                          21    Avenue of the Americas, New York, New
      22   Attorneys for Defendant Google LLC                      22    York. My name is Carlos Rivera
      23       55 Second Street                                    23    representing Veritext and I'm the
      24       San Francisco, California 94105                     24    videographer. The court reporter is
      25   BY: ISABELLA SOLORZANO, ESQ.                            25    Jennifer Ocampo-Guzman also representing
                                                                                                   2 (Pages 2 - 5)
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Case 1:23-cv-00108-LMB-JFA Document 814-9 Filed 06/14/24 Page 4 of 9 PageID# 19489

                                HIGHLY CONFIDENTIAL
                                       Page 278                                              Page 280
       1    JOHN - HIGHLY CONFIDENTIAL             1      JOHN - HIGHLY CONFIDENTIAL
       2                                           2
       3                                           3
       4                                           4
       5                                           5
       6                                           6
       7                                           7
       8                                           8
       9                                           9
      10                                          10
      11                                          11
      12                                          12
      13                                          13
      14                                          14
      15                                          15
      16                                          16
      17                                          17                                                ,
      18                                          18
      19                                          19
      20                                          20
      21                                          21
      22                                          22
      23                                          23        MR. VERNON: Sorry. Objection,
      24                                          24     scope.
      25                                          25     Q. All right. I would like to hand
                                       Page 279                                              Page 281
       1    JOHN - HIGHLY CONFIDENTIAL             1        JOHN - HIGHLY CONFIDENTIAL
       2                                           2   you what we will mark as Exhibit 17.
       3                                           3          MS. SPEVACK: Exhibit 17.
       4                                           4          (MSFT Exhibit 17, Document
       5                                           5       entitled, "Xandr in Microsoft, Product
       6                                           6       Synergies Sneak Peak," Bates Nos.
       7                                           7       MSFT-LIT-0000003426 through
       8                                           8       MSFT-LIT-0000003429, marked for
       9                                           9       identification, this date.)
      10                                          10       Q. Now, Mr. John, you recognize this
      11                                          11   as a Xandr business record prepared on, dated
      12                                          12   November 2022, in the ordinary course of
      13                                          13   business?
      14                                          14       A. Yes, I do.
      15                                          15       Q. Okay. Now earlier when government
      16                                          16   counsel asked you about when Xandr competed
      17                                          17   with Google and asked you why Xandr did not
      18                                          18   tend to win that competition, the first
      19                                          19   reason you said was that Xandr didn't have
      20                                          20   first-party properties.
      21                                          21          Do you recall saying that?
      22                                          22          MR. VERNON: Objection,
      23                                          23       mischaracterizes.
      24                                          24       A. The question was about specific to
      25                                          25   the publisher ad server on display, and my
                                                                              71 (Pages 278 - 281)
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Case 1:23-cv-00108-LMB-JFA Document 814-9 Filed 06/14/24 Page 5 of 9 PageID# 19490

                                           HIGHLY CONFIDENTIAL
                                                   Page 282                                               Page 284
       1       JOHN - HIGHLY CONFIDENTIAL                      1       JOHN - HIGHLY CONFIDENTIAL
       2   answer was about demand.                            2   SSPs wide array of publisher inventory,
       3      Q. Right. But before you spoke about             3   right?
       4   demand and we will get to demand, you said          4      A. I do not.
       5   Xandr didn't have first-party properties. Do        5      Q. And you don't dispute that when the
       6   you remember saying that?                           6   document says, Microsoft Audience Network
       7      A. Correct.                                      7   demand originated from Bing search and
       8      Q. Okay. Is it the case that                     8   Microsoft audience -- Microsoft Audience
       9   Microsoft has first-party properties?               9   Network audience buys, that it's describing
      10      A. That is correct.                             10   this as unique demand to which Xandr's
      11      Q. And Microsoft has now acquired               11   publishers will have access following the
      12   Xandr, right?                                      12   Microsoft/Xandr acquisition?
      13      A. That is correct.                             13      A. That is correct.
      14      Q. Now, you did also mentioned                  14      Q. Okay. So you're bringing the
      15   availability of demand, and I would ask you        15   demand that Microsoft has access to as a
      16   just to look at the document in front of you       16   result of its search advertising to Xandr's
      17   dated November 2022.                               17   publishers through Xandr Monetize, correct?
      18      A. Uh-huh, yes.                                 18      A. Xandr publishers are one of the
      19      Q. And if you looked at the left-hand           19   publishers. MSAN is and will continue to
      20   side of the page, this is a Xandr document,        20   provide the demand to outside of Monetize as
      21   after the acquisition by Microsoft and it          21   well.
      22   refers to "Unique Demand." Do you see that?        22      Q. Right. And while we're on the
      23      A. That is correct.                             23   topic of demand, you spoke earlier about how
      24      Q. And if you look at "Unique Demand"           24   sophisticated publishers on the supply side
      25   then there are four categories and the four        25   are partnering with Xandr and so you
                                                   Page 283                                               Page 285
       1       JOHN - HIGHLY CONFIDENTIAL                      1        JOHN - HIGHLY CONFIDENTIAL
       2   categories are projects that Microsoft and          2   mentioned Axel Springer, right?
       3   Xandr are working on. Do you see that?              3       A. That is correct.
       4      A. That is correct.                              4       Q. News Corp is one, right?
       5      Q. And the first project is called               5       A. News Corp is not an Axel customer.
       6   Microsoft Audience Network bidder                   6   They're an SSP, but they're primarily Google
       7   integration. Do you see that?                       7   customer.
       8      A. Yes, I do.                                    8       Q. Right, but they're a publisher that
       9      Q. And in the "Primary Audience and              9   works with Xandr?
      10   Benefit" column, listing the primary audience      10       A. As an SSP.
      11   and benefits of the Microsoft Audience             11       Q. As an SSP, Hulu?
      12   Network bidder integration, it says, Monetize      12       A. Hulu did not work with us.
      13   SSP sellers will now get access to Microsoft       13       Q. How about CNN?
      14   Audience Network demand originating from Bing      14       A. CNN as an SSP, not as an ad server
      15   Search and Microsoft Audience Network              15   customer.
      16   audience buys. Do you see that?                    16       Q. How about Warner Media?
      17      A. Yes, I do.                                   17       A. Warner Media did not use as an ad
      18      Q. All right. And then it says,                 18   server customer.
      19   Microsoft Audience Network "buyers will be         19       Q. SSP?
      20   able to access Monetize SSP's wide array of        20       A. SSP, that's correct.
      21   publisher inventory."                              21       Q. And Netflix, we've already talked
      22          Do you see that?                            22   about Netflix?
      23      A. Yes, I do.                                   23       A. Correct.
      24      Q. And you don't dispute that this              24       Q. Now, if you look down on the
      25   Microsoft Xandr document refers to Monetize        25   left-hand side of the page, also in the
                                                                                           72 (Pages 282 - 285)
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Case 1:23-cv-00108-LMB-JFA Document 814-9 Filed 06/14/24 Page 6 of 9 PageID# 19491

                                        HIGHLY CONFIDENTIAL
                                                Page 286                                               Page 288
       1     JOHN - HIGHLY CONFIDENTIAL                     1       JOHN - HIGHLY CONFIDENTIAL
       2 category of "Unique Demand" the fourth             2   that?
       3 project it refers to, it is "Microsoft             3          MR. VERNON: About Outlook?
       4 audience" -- sorry --                              4      Objection to form mischaracterizes and
       5       MS. DUNN: Strike that.                       5      beyond the scope.
       6                                                    6          MS. DUNN: I'll rephrase.
       7                                                    7      Q. Do you recall being asked some
       8                                                    8   questions by government counsel about
       9                                                    9   Microsoft's view of the world in 2007?
      10                                                   10      A. Today?
      11                                                   11      Q. No, he asked you questions about
      12                                                   12   2007, when he was talking about --
      13                                                   13      A. That's correct, during the talk,
      14                                                   14   yeah.
      15                                                   15      Q. This is the Microsoft website
      16                                                   16   today, as it appears today, and this is the
      17                                                   17   web page that talks about Xandr and premium
      18                                                   18   programmatic advertising. Do you see that in
      19                                                   19   front of you? If you look at the URL at the
      20                                                   20   top it says --
      21                                                   21      A. The URL, correct.
      22                                                   22      Q. -- "Xandr programmatic premium
      23                                        .          23   advertising"?
      24                                                   24      A. That's correct.
      25                                                   25      Q. And Microsoft, this is on
                                                Page 287                                               Page 289
       1     JOHN - HIGHLY CONFIDENTIAL                     1       JOHN - HIGHLY CONFIDENTIAL
       2                                                    2   Microsoft's website and it's telling
       3                                                    3   advertisers and publishers that they can help
       4                                                    4   solve your buyers and sellers greatest
       5                                                    5   advertising challenges with Xandr's platforms
       6                                                    6   that enable you to unlock the full value of
       7                                                    7   running programmatic advertising campaigns
       8                                                    8   across screens and tapping into engaged
       9                                                    9   audiences. And so you don't disagree that
      10                                                   10   this is what Microsoft is telling people
      11                                                   11   today, do you?
      12                                                   12      A. I don't disagree.
      13                                                   13      Q. And if you look down, it refers to
      14                                                   14   the Xandr's end-to-end platforms?
      15                                                   15      A. That is correct.
      16                                                   16      Q. And would you do agree that having
      17       I would like you to look now at             17   an end-to-end platform helps prevent fraud?
      18 what we will mark as Exhibit 18.                  18           MR. VERNON: Objection, leading,
      19       (MSFT Exhibit 18, Document                  19      also scope.
      20    entitled, "Reach audiences across              20      A. Yes.
      21    screens with premium advertising,"             21      Q. If you look at page 2 of the
      22    marked for identification, this date.)         22   printout from Microsoft's website, it says
      23    Q. Now, you were asked by the                  23   that premium advertising is available for a
      24 government counsel numerous questions about       24   variety of formats through Microsoft. Do you
      25 Microsoft's Outlook in 2007. Do you recall        25   see that?
                                                                                        73 (Pages 286 - 289)
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Case 1:23-cv-00108-LMB-JFA Document 814-9 Filed 06/14/24 Page 7 of 9 PageID# 19492

                                           HIGHLY CONFIDENTIAL
                                                   Page 290                                              Page 292
       1       JOHN - HIGHLY CONFIDENTIAL                      1       JOHN - HIGHLY CONFIDENTIAL
       2       A. Yes, that is correct.                        2 says "across digital formats," what formats
       3       Q. And it lists "connected TV, display          3 it's talking about?
       4   and native." Do you see that?                       4      A. It's display, audio, video, CTV.
       5       A. Yes, I do.                                   5      Q. All right. I would like to show
       6       Q. And it doesn't say those are, you            6 you, sir, our Tab 53.
       7   know, aimed at different people, it just            7          (MSFT Exhibit 19, Document
       8   talks about all three of those there, right?        8      entitled, "Xandr in Microsoft Product
       9          MR. VERNON: Objection, vague.                9      Synergy Slides - Phase 2 - For buyers -
      10       A. Can you clarify? What do you mean           10      Talk Track," Bates Nos.
      11   by that?                                           11      MSFT-LIT-0000004160 through
      12       Q. Microsoft is telling people through         12      MSFT-LIT-0000004163, marked for
      13   its website that you can reach your desired        13      identification, this date.)
      14   audience with one of the world's largest           14          MS. SPEVACK: Exhibits 19.
      15   marketplaces; it's talking about Xandr,            15          MS. DUNN: Exhibit 19.
      16   right?                                             16      Q. This is a document --
      17       A. Yes, that is correct.                       17          MR. VERNON: Can you wait until we
      18       Q. And it specifically mentions that           18      get copies?
      19   that goes from connected TV to display to          19          MS. COLE: And the first page?
      20   native. You see that?                              20      Metadata?
      21       A. Right. You can reach the audience           21          MS. DUNN: Yes, the first page is
      22   through one of those marketplaces, correct.        22      metadata. This is a document produced
      23       Q. Right.                                      23      by Microsoft to Google and the date is
      24          And it specifically advertises, if          24      November 9, 2022, on this document. It
      25   you look down, there is a picture of the TV        25      follows the Microsoft/Xandr acquisition
                                                   Page 291                                              Page 293
       1       JOHN - HIGHLY CONFIDENTIAL                      1        JOHN - HIGHLY CONFIDENTIAL
       2   show "Stranger Things," and you can see in          2       and it is a talk track for buyers meant
       3   the top left-hand corner that that's being          3       to accompany slides.
       4   shown on Netflix. Do you see that?                  4       Q. Do you have any reason to doubt
       5      A. Yes.                                          5   that this talk track for buyers was prepared
       6      Q. And today Microsoft is touting, you           6   in the ordinary course of business by
       7   can see on page 3, its exclusive technology         7   Microsoft employees?
       8   and sales partnership with Netflix. Do you          8       A. I don't know.
       9   see that?                                           9       Q. All right. One of the things that
      10      A. Yes, I do.                                   10   you talked about in your testimony with the
      11      Q. It says, "all CTV advertising                11   government attorney was demand, and so when
      12   served on Netflix is exclusively available         12   we're talking about demand, just to be clear,
      13   through the Microsoft advertising platform."       13   you mean advertisers are the demand side,
      14          Do you see that?                            14   right?
      15      A. Yes, I do.                                   15       A. That is correct.
      16      Q. And then if you go to the part at            16       Q. And the point of the advertisers in
      17   the bottom of the "Advertiser Platform,"           17   the demand is so that people can be reached
      18   today what Microsoft is telling people who         18   and see the ads, right?
      19   may be interested in its products that it has      19           MR. VERNON: Objection, leading.
      20   a robust data marketplace with access to           20       A. That is one unique talk point,
      21   premium supply across digital formats and          21   audience reach, yes.
      22   flexible ways to transact.                         22       Q. Right.
      23          Do you see that?                            23           And if you look at what it says in
      24      A. Yes, I do.                                   24   the buyer talk track under slide 4, it talks
      25      Q. And do you happen to know when it            25   about the "Microsoft Advertising
                                                                                          74 (Pages 290 - 293)
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Case 1:23-cv-00108-LMB-JFA Document 814-9 Filed 06/14/24 Page 8 of 9 PageID# 19493

                                         HIGHLY CONFIDENTIAL
                                                Page 294                                            Page 296
       1        JOHN - HIGHLY CONFIDENTIAL                1        JOHN - HIGHLY CONFIDENTIAL
       2   Marketplaces." Do you see that?                2          And so when Microsoft and Xandr are
       3       A. Yes, uh-huh, yes.                       3   talking to the buyers about buying across
       4          MR. VERNON: Show us where you are. 4        channels and formats, what they're talking
       5          MS. DUNN: I'm on --                     5   about is, at least, CTV, gaming, shopper
       6          MR. VERNON: Never mind. I'm good. 6         marketing, native and display, right?
       7       Q. And it describes Microsoft              7          MR. VERNON: Objection,
       8   advertising ecosystem as expansive. Do you     8       mischaracterizes native, display --
       9   see that?                                      9       Q. It that what it says?
      10       A. Which paragraph? The second one?       10       A. It says advertisers were able to
      11       Q. It's on slide 4, "Microsoft            11   reach across different audiences and
      12   Advertising Marketplaces" and it says,        12   different formats.
      13   "Microsoft advertising's expansive            13       Q. Right. And it's telling buyers,
      14   ecosystem." Do you see that?                  14   advertisers that they can reach people
      15       A. Yes, I do.                             15   through CTV, gaming, shopper marketing and
      16       Q. And Microsoft's expansive ecosystem 16      native all as a result of Microsoft and
      17   allows you access to over one billion people. 17   Xandr, right?
      18   Do you see where it says that?                18       A. That is correct.
      19       A. Yes, I do.                             19       Q. Okay. All right.
      20       Q. Do you happen to know that a           20          MS. DUNN: Okay. I would like to
      21   billion people is a seventh of the population 21       show you, if we can hand the witnesses
      22   on earth?                                     22       tabs 26, 27 and 28.
      23       A. Yes, I do.                             23          MS. SPEVACK: It will be
      24          MS. COLE: That's beyond the scope.     24       Exhibit 20.
      25       Q. Now, do you have any reason to         25          (MSFT Exhibit 20, Natively produced
                                                Page 295                                            Page 297
       1     JOHN - HIGHLY CONFIDENTIAL                 1         JOHN - HIGHLY CONFIDENTIAL
       2 doubt that this is true?                       2        document, PowerPoint presentation
       3    A. I do not.                                3        entitled, "Welcome to Microsoft
       4    Q. Now, it then says, "Here's a closer      4        Advertising," Bates Nos.
       5 look at the inventory available." And it       5        MSFT-LIT0000002147, marked for
       6 mentions Microsoft search network,             6        identification, this date.)
       7 Microsoft's owned and operated sites that we   7            MS. SPEVACK: 21.
       8 went through, Microsoft Audience Network,      8            (MSFT Exhibit 21, Document, Bates
       9 which includes MSN, Outlook and Edge and it    9        Nos. MSFT-LIT0000033249 through
      10 mentions PromoteIQ which is the retail outfit 10        MSFT-LIT0000033254, marked for
      11 that we talked about. Do you see that?        11        identification, this date.)
      12    A. Yes, I do.                              12        Q. I'm just going to ask you if
      13    Q. And Microsoft also wants buyers to      13     they're documents prepared in the ordinary
      14 know that Xandr is one of the largest global  14     course of business. And I'm not going to ask
      15 programmatic marketplaces. Do you see that?   15     you any questions about them.
      16    A. Yes, I do.                              16            MS. SPEVACK: And 22.
      17    Q. Now if you look at slide 5 in the       17            (MSFT Exhibit 22, Natively produced
      18 buyers talk track. It says, "We're excited    18        document, PowerPoint presentation
      19 to be working as part of Microsoft to create  19        entitled, "Xandr Ad Server/Supplement,"
      20 new valuable opportunities for advertisers.   20        Bates No. MSFT-LIT0000028835, pages 1
      21 With Microsoft, we're gaining significant     21        through 16, marked for identification,
      22 momentum across CTV, gaming shopper marketing 22        this date.)
      23 and native - further strengthening Xandr and  23            (Discussion off the record.)
      24 Invest DSP as your strategic partner to buy   24        Q. So those three documents that I
      25 across channels and format."                  25     just handed to you --
                                                                                      75 (Pages 294 - 297)
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Case 1:23-cv-00108-LMB-JFA Document 814-9 Filed 06/14/24 Page 9 of 9 PageID# 19494

                                         HIGHLY CONFIDENTIAL
                                                 Page 318                                             Page 320
       1       JOHN - HIGHLY CONFIDENTIAL                1
       2   evolves, multiple players started picking     2   STATE OF ______________)
       3   compared to the display advertising.          3              ) :ss
       4      Q. Okay.                                   4   COUNTY OF _____________)
       5         MR. VERNON: Could we go off the         5
       6      record. Just give me two minutes. I        6
       7      just want to make sure I asked all the     7          I, BENNEASER JOHN, the witness
       8      questions.                                 8      herein, having read the foregoing
       9         THE VIDEOGRAPHER: The time is           9      testimony of the pages of this
      10      6:19 p.m. and we're off the record.       10      deposition, do hereby certify it to be a
      11         (A brief recess was taken.)            11      true and correct transcript, subject to
      12         THE VIDEOGRAPHER: The time is          12      the corrections, if any, shown on the
      13      6:21 p.m. and we're back on the record.   13      attached page.
      14      Q. Do you have that document in front     14
      15   of you that we were just looking at?         15               ______________________
      16      A. Yes, I do.                             16               BENNEASER JOHN
      17      Q. And the one that refers to the         17
      18   "marketplace lock-in in Display." Do you see 18   Sworn and subscribed to before
      19   that?                                        19   me, this        day of
      20      A. Yes, I do.                             20            , 2023.
      21      Q. Earlier counsel asked you some         21   _______________________________
      22   questions about meetings between the DOJ and 22   Notary Public
      23   Microsoft with Xandr. Do you remember that? 23
      24      A. Yes, I do.                             24
      25      Q. Did Microsoft or Xandr create this     25
                                                 Page 319                                             Page 321
       1     JOHN - HIGHLY CONFIDENTIAL                 1
       2 document that talks about marketplace lock-in 2          CERTIFICATE
       3 for display for purposes of showing it to the  3  STATE     OF NEW YORK )
       4 DOJ?                                           4                 : ss.
                                                        5 COUNTY OF NEW YORK )
       5    A. Absolutely not.
                                                        6         I, Jennifer Ocampo-Guzman, a
       6        MR. VERNON: Okay. With that, and
                                                        7 Certified Realtime Shorthand Reporter and
       7    unless counsel for Google has further       8 Notary Public within and for the State of New
       8    questions, I'm done with my questions,      9 York, do hereby certify:
       9    and I thank you and the court reporter     10         That BENNEASER JOHN, the witness
      10    and the videographer and to everyone for   11 whose deposition is hereinbefore set forth,
      11    taking the time to sit here on a Friday.   12 was duly sworn, and that such deposition is
      12        THE WITNESS: Thank you, all.           13 a true record of the testimony given by the
      13        MS. DUNN: Thank you very much. We 14 witness.
      14    appreciate you very, very much.            15         I further certify that I am not
      15        THE VIDEOGRAPHER: We're going off      16 related  to any of the parties to this action
      16    the record at 6:22 p.m., and this          17 by  blood   or marriage, and that I am in no
      17    concludes today's testimony given by Ben   18 way   interested  in the outcome of this
                                                       19 matter.
      18    John. The total number of media units
                                                       20         IN WITNESS WHEREOF, I have
      19    was five, and they will be retained by
                                                       21 hereunto set my hand this 12th day of
      20    Veritext.                                     September 2023.
      21        (Time noted: 6:22 p.m.)                22
      22                                               23
      23                                                                <%5137,Signature%>
      24                                               24         JENNIFER OCAMPO-GUZMAN, CRR, CLR
      25                                               25

                                                                                      81 (Pages 318 - 321)
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